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             UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                            RESPONSE – SIMILAR CASES



        Appeal No. & Caption: ___________________________________________________
                              LaFave v. County of Fairfax (No. 24-1886)

        Please select the appropriate option below:

              I am not aware of any cases pending in the United States Court of Appeals for the
              Fourth Circuit or the Supreme Court of the United States raising issues similar to
              those raised by the instant case.

         ✔    I am aware of the following case(s) pending in the United States Court of Appeals
              for the Fourth Circuit or the Supreme Court of the United States raising issues
              similar to those raised by the instant case. (Please include a concise description of
              the similar issues):
              Maryland Shall Issue v. Montgomery County (No. 23-1719), and Kipke v. Moore
              (No. 24-1799(L)) also involve Second Amendment challenges to sensitive-places
              restrictions, including in parks.




        Signature: _______________________
                   /s/ Mary B. McCord      Counsel for: ____________________________
                                                        Amicus City of Richmond

        Date: ____________
              2/19/2025


              File using event: RESPONSE/ANSWER (to Similar Case notice)
